Case 4:20-cv-00040-RBS-LRL Document 11 Filed 03/16/20 Page 1 of 4 PageID# 57




                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                              In Admiralty — Newport News Division

 KPI Bridge Oil Ltd.,

        Plaintiff,
                                                       Civil Action No.4:20-cv-40
 V.



 Alfa Denizcilik Ileti^im Bilgileri
 (a/k/a Alfa Marine or Alfamarin)

        Defendant,

 and


 American Borate Company, L.L.C. and
 The Master of the MA^ HOPE,IMO 9545053

        Garnishees.


              WRIT FOR MARITIME ATTACHMENT AND GARNISHMENT


 TO GARNISHEE:          MASTER of the MA^ HOPE,IMO 9545053

 THE PRESIDENT OF THE UNITED STATES OF AMERICA


 THE UNITED STATES MARSHAL FOR THE EASTERN DISTRICT OF VIRGINIA


 GREETING:


         WHEREAS,on March 13, 2020, Plaintiff filed a Verified Complaint against Defendant
 Alfa Denizcilik ileti§im Bilgileri (a/k/a Alfa Marine or Alfamarin) for reasons in said verified
 complaint mentioned for the sum of at least USD 173.150.00 (herein, the "Garnishment
 Amount")as demanded for the breach of maritime contracts, and praying for process of maritime
 attachment and garnishment against the property of said Defendant; and

         WHEREAS,this process is issued pursuant to such prayer and requires that Gamishee
 shall serve Garnishee's answer within twenty-one (21) days after service of process upon the
 Gamishee and requires that Defendant shall serve its answer within thirty (30) days after process
 has been executed, whether by attachment of property or service on the Gamishee,

          NOW,THEREFORE, you are hereby commanded that if the said Defendant cannot be
 found within the District, you attach goods, chattels, credits and effects located and to be found
 in this District belonging to Defendants, or in the hands of the Gamishee named, up to the
Case 4:20-cv-00040-RBS-LRL Document 11 Filed 03/16/20 Page 2 of 4 PageID# 58




 Garnishment Amount and as further demanded in the Verified Complaint and how you shall
 have executed this process, make known to this Court with your certificate of execution thereof
 written.




                                                     WITNESS THE HONORABLE
                                                     Judge of said Court, in said District,
                                                     this          day of March 2020.

                                                     FERNANDO GALINDO,
                                                     CLERK OF THE COURT




                                                     BY : f\' AnalrauJ
                                                     Deputy Clerk


 NOTE: This process is issued pursuant to Rule B(l)of the Supplemental Rules for Certain
 Admiralty and Maritime Claims of the Federal Rules of Civil Procedure.
Case 4:20-cv-00040-RBS-LRL Document 11 Filed 03/16/20 Page 3 of 4 PageID# 59




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                             In Admiralty- Newport News Division

 KPI Bridge Oil Ltd.,

        Plaintiff,
                                                      Civil Action No. 4:20-CV-40
 V.



 Alfa Denizcilik Ileti^im Bilgileri
 (a/k/a Alfa Marine or Alfamarin)

        Defendant,

 and


 American Borate Company,L.L.C., and
 The Master of the MA^ HOPE,IMO 9545053

        Garnishees.


             WRIT FOR MARITIME ATTACHMENT AND GARNISHMENT


 TO GARNISHEE:          AMERICAN BORATE COMPANY
                        do David M.Delpierre, Registered Agent
                        150 W Main St Ste2100
                        Norfolk, VA,23510- 1609

 THE PRESIDENT OF THE UNITED STATES OF AMERICA

 THE UNITED STATES MARSHAL FOR THE EASTERN DISTRICT OF VIRGINIA

 GREETING:


        WHEREAS,on March 13, 2020, Plaintiff filed a Verified Complaint against Defendant
 Alfa Denizcilik ileti§im Bilgileri (a/k/a Alfa Marine or Alfamarin)for reasons in said verified
 complaint mentioned for the sum of at least USD 173,150.00 (herein, the "Garnishment
 Amount")as demanded for the breach of maritime contracts, and praying for process of maritime
 attachment and garnishment against the property ofsaid Defendant; and

         WHEREAS,this process is issued pursuant to such prayer and requires that Gamishee
 shall serve Garnishee's answer within twenty-one (21) days after service of process upon the
 Gamishee and requires that Defendant shall serve its answer within thirty (30) days after process
 has been executed, whether by attachment of property or service on the Gamishee,
Case 4:20-cv-00040-RBS-LRL Document 11 Filed 03/16/20 Page 4 of 4 PageID# 60




          NOW,THEREFORE, you are hereby commanded that if the said Defendant cannot be
 found within the District, you attach goods, chattels, credits and effects located and to be found
 in this District belonging to Defendants, or in the hands of the Gamishee named, up to the
 Garnishment Amount and as further demanded in the Verified Complaint and how you shall
 have executed this process, make known to this Court with your certificate of execution thereof
 written.




                                                       WITNESS THE HONORABLE
                                                            ot s^
                                                      Judge of      L-ourt, in said District,
                                                               said Court,          uistri
                                                      this          day of March 2020.

                                                      FERNANDO GALINDO,
                                                      CLERK OF THE COURT



                                                      BY:
                                                      Deputy Clerk


 NOTE: This process is issued pursuant to Rule B(I) of the Supplemental Rules for Certain
 Admiralty and Maritime Claims of the Federal Rules of Civil Procedure.
